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     Attorney(s) for Rothschild Patent Imaging, LLC
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7
                     IN THE UNITED STATES DISTRICT COURT
8                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
9
     ROTHSCHILD PATENT               §
10   IMAGING LLC,                    §             Case No: 3:22-cv-01264-EMC
                                     §
11
          Plaintiff,                 §             PATENT CASE
12                                   §
     vs.                             §
13
                                     §             NOTICE OF VOLUNTARY
14   IMGUR, INC.                     §             DISMISSAL WITH PREJUDICE
                                     §
15
          Defendant.                 §
16   ________________________________§
17
           Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this
18
     Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil
19
     Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
20
     by the plaintiff without order of court by filing a notice of dismissal at any time before
21
     service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
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     dismisses this action against Defendant Imgur, Inc. with prejudice, pursuant to Rule
23
     41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                          NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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1    Dated: July 8, 2022                     Respectfully submitted,
2
                                             /s/Stephen M. Lobbin
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8                                            Attorney(s) for Plaintiff

9
                                 CERTIFICATE OF SERVICE
10

11          I hereby certify that on July 8, 2022, I electronically filed the above document(s)
     with the Clerk of Court using CM/ECF which will send electronic notification of such
12   filing(s) to all registered counsel.
13
                                                   /s/Stephen M. Lobbin
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                                                   Stephen M. Lobbin
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                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
